     Case 4:17-cv-00275-DCB-BPV Document 18 Filed 12/20/17 Page 1 of 2




 1   Ballon Stoll Bader & Nadler
     By: Avraham Zvi Cutler (028441)
 2   729 7th Ave., 17th Fl.
 3   New York, NY 10019
     Phone: (718) 578-7711
 4   avicutler@gmail.com
 5   Attorney for Russell Reeves

 6   Patricia Jo Stone, P.C.
     By: Joseph J. Lico (028442)
 7
     19751 E. Mainstreet, Ste 200
 8   Parker, CO 80138
     Phone: (303) 805-7080
 9
     Joseph @patriciajostone.com
10   Attorney for N.A.R., Inc.
11
12                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA
13
14   RUSSELL REEVES,                              ) No.: _4:17-cv-00275-BPV
                                                  )
15                 Plaintiff,                     )
                                                  ) STIPULATION OF DISMISSAL WITH
16          vs.                                   ) PREJUDICE AND WITHOUT COSTS
                                                  )
17                                                )
                                                  )
18   N.A.R., INC.,                                )
                   Defendant.                     )
19                                                )
                                                  )
20
21          IT IS HEREBY STIPULATED AND AGREED by and between the undersigned
22
     counsel for all parties in the above captioned action, that whereas no party hereto is an
23
     infant, incompetent person for whom a committee has been appointed or conservatee, and
24
25   no person not a party has an interest in the subject matter of the action, that this action is
26
     dismissed with prejudice and without costs to either party pursuant to Rule 41(a)(1)(A)(ii)
27
     of the Federal Rules of Civil Procedure.
28
     Case 4:17-cv-00275-DCB-BPV Document 18 Filed 12/20/17 Page 2 of 2




 1   Dated this 20th day of December, 2017 at New York, New York.

 2   /s/ Avraham Zvi Cutler
 3   Avraham Zvi Cutler
     Attorney for Plaintiff
 4
 5
     Dated this 20th day of December, 2017 at Parker, Colorado.
 6
     /s/ Joseph J. Lico
 7
     Joseph J. Lico
 8   Attorney for Defendant
 9
                                 CERTIFICATE OF SERVICE
10
            I hereby certify under penalty of perjury under the laws of the State of Arizona
11   that on the 20th day of December, 2017, I electronically filed the foregoing with the Clerk
12   of the Court using the CM/ECF system which will send a notification of such filing to the
     following: Joseph J. Lico, Attorney for Defendant.
13
14   /s/ Avraham Zvi Cutler
     Avraham Zvi Cutler
15   729 7th Ave, 17th Floor
16   New York, NY 10019
     Phone: 718-578-7711
17   avicutler@gmail.com
18
19
20
21
22
23
24
25
26
27
28
